 Case 2:20-cv-09997-AB-AS Document 37 Filed 11/15/21 Page 1 of 1 Page ID #:186



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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    GEORGES CHEBIB,                            CASE NO. 2:20-cv-09997-AB-AS
11                    Plaintiff,                 ORDER DISMISSING CIVIL ACTION
12    v.
13
      YVES ALEXANDER BERGQUIST,
14    et al.,

15                    Defendants.
16
17         THE COURT has been advised that this action has been settled.
18         The Court therefore ORDERS that this action is hereby DISMISSED without
19   costs and without prejudice to the right, upon good cause shown within 30 days, to re-
20   open the action if settlement is not consummated. This Court retains full jurisdiction
21   over this action and this Order shall not prejudice any party to this action.
22
23   Dated: November 15, 2021         _______________________________________
24                                    ANDRÉ BIROTTE JR.
                                      UNITED STATES DISTRICT JUDGE
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